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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE BANCO BRADESCO S.A.                         Civil Case No. 1:16-cv-04155 (GHW)
 SECURITIES LITIGATION
                                                   ECF CASE




       ORDER AWARDING ATTORNEYS’ FEES AND EXPENSES

       WHEREAS, this matter came on for hearing on November 13, 2019 (the “Settlement

Fairness Hearing”) on Lead Counsel’s motion for an award of attorneys’ fees and payment of

Litigation Expenses. The Court having considered all matters submitted to it prior to, during and

following the Settlement Fairness Hearing; and it appearing that notice of the Settlement Fairness

Hearing substantially in the form approved by the Court was mailed to all Settlement Class

Members who could be identified with reasonable effort, and that a summary notice of the hearing

substantially in the form approved by the Court was published in Investor’s Business Daily and

transmitted over the PR Newswire pursuant to the specifications of the Court; and the Court having

considered and determined the fairness and reasonableness of the award of attorneys’ fees and

Litigation Expenses requested; and

       WHEREAS, this Order incorporates by reference the definitions in the Stipulation and

Agreement of Settlement dated July 1, 2019 (ECF No. 189-1) (“Stipulation”), and all capitalized

terms not otherwise defined herein shall have the same meanings as set forth in the Stipulation.

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      Jurisdiction—The Court has jurisdiction to enter this Order and over the subject

matter of the Action, as well as personal jurisdiction over all of the Parties and each of the

Settlement Class Members.
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        2.      Notice—Notice of Lead Counsel’s motion for an award of attorneys’ fees and

payment of Litigation Expenses was provided to all Settlement Class Members who could be

identified with reasonable effort, advising them of their right to object thereto, and a full and fair

opportunity was accorded to Settlement Class Members to be heard with respect to Lead Counsel’s

motion for an award of attorneys’ fees and payment of Litigation Expenses. The form and method

of notifying the Settlement Class of the motion for an award of attorneys’ fees and payment of

Litigation Expenses satisfied the requirements of Rules 23 and 54 of the Federal Rules of Civil

Procedure, the United States Constitution (including the Due Process Clause), the Private

Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable

law and rules; constituted the best notice practicable under the circumstances; and constituted due

and sufficient notice to all persons and entities entitled thereto.

        3.      Fee and Expense Award—Lead Counsel is hereby awarded attorneys’ fees in the

amount of 25% of the Settlement Fund and $743,507.30 in payment of Plaintiffs’ Counsel’s

Litigation Expenses, which sums the Court finds to be fair and reasonable. The attorneys’ fees and

Litigation Expenses awarded will be paid to Lead Counsel from the Settlement Fund in accordance

with the terms of the Stipulation and in accordance with Lead Counsel’s Motion for an Award of

Attorneys’ Fees and Payment of Litigation Expenses (ECF No. 203).

        4.      Factual Findings—In making this award of attorneys’ fees and Litigation

Expenses to be paid from the Settlement Fund, the Court has considered and found that:

                a.      The Settlement has created a fund of $14,500,000 in cash. This amount has

been funded into escrow pursuant to the terms of the Stipulation, and numerous Settlement Class

Members who submit acceptable Claim Forms will benefit from the Settlement that occurred

because of the efforts of Plaintiffs’ Counsel;

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               b.      The fee sought by Lead Counsel has been reviewed and approved as

reasonable by Lead Plaintiff, who oversaw the prosecution and resolution of the Action;

               c.      More than 50,300 copies of the Postcard Notice and 1,500 copies of the

Notice were mailed to potential Settlement Class Members and nominees stating that Lead Counsel

would apply for attorneys’ fees in an amount not to exceed 25% of the Settlement Fund, and

payment of Litigation Expenses in an amount not to exceed $1.1 million, which amount may

include a request for reimbursement to Plaintiffs in an aggregate amount not to exceed $75,000;

               d.      Plaintiffs’ Counsel have conducted the litigation and achieved the

Settlement with skillful and diligent advocacy;

               e.      The Action raised a number of complex issues;

               f.      Had Plaintiffs’ Counsel not achieved the Settlement, there would remain a

significant risk that Lead Plaintiff and the other members of the Settlement Class may have

recovered less or nothing from Defendants;

               g.      Plaintiffs’ Counsel devoted more than 10,485 hours, with a lodestar value

of $5,687,442.25, to achieve the Settlement;

               h.      The amount of attorneys’ fees awarded and Litigation Expenses to be

reimbursed from the Settlement Fund are fair and reasonable and consistent with awards in similar

cases; and

               i.      Not a single Settlement Class Member has objected to the requested award

of attorneys’ fees or Litigation Expenses.

       5.      PSLRA Award—Lead Plaintiff Public Employees’ Retirement System of

Mississippi is hereby awarded $37,638.75 as reimbursement from the Settlement Fund for its

reasonable costs directly related to representing the Settlement Class in the Action.

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       6.      No Impact on Judgment—Any appeal of or any challenge to this Court’s award

of attorneys’ fees and Litigation Expenses shall in no way disturb or affect the finality of the

Judgment.

       7.      Retention of Jurisdiction—The Court hereby retains exclusive jurisdiction over

the Parties and the Settlement Class Members for all matters relating to this Action, including the

administration, interpretation, effectuation, or enforcement of the Stipulation and this Order.

       8.      Termination of Settlement—In the event that the Settlement is terminated or the

Effective Date of the Settlement otherwise fails to occur, this Order shall be rendered null and void

to the extent provided by the Stipulation.

       9.      Entry of Order—There is no just reason for delay in the entry of this Order and

immediate entry by the Clerk of the Court is expressly directed. The Clerk of Court is directed to

terminate the motion pending at Dkt. No. 203.

       SO ORDERED this 18th day of November, 2019.



                                                      ____________________________________
                                                              GREGORY H. WOODS
                                                            United States District Judge




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